      Case 3:22-cv-00257 Document 17 Filed on 03/16/23 in TXSD Page 1 of 3




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  GALVESTON DIVISION

 KACEY NICOLE WAGNER                                §
                                                    §
                Plaintiff,                          §
                                                    §
                                                    § CASE NO. 3:22-cv-257
 v.                                                 §
                                                    §
 NEWREZ, LLC d/b/a Shellpoint Mortgage              §
 Servicing                                          §
                                                    §
                Defendant.



       ROBERT NEWARK’S AGREED RENEWED MOTION TO WITHDRAW
                    AS COUNSEL FOR PLAINTIFF


 TO THE HONORABLE JUDGE OF SAID COURT:

         Robert C. Newark, III ("Movant”) respectfully requests that the Court enter an order

 withdrawing Movants as counsel of record for Plaintiff, Kacey Nicole Wagner. In support

 of the Motion, Movant would should the following:

            1. On March 1, 2023, Movant filed his Motion to Withdraw. See Doc # 11.

            2. On multiple occasions since that filing, Plaintiff has reached out to counsel

for Defendant to discuss the case, inform counsel for the Defendant that Movant was no

longer her attorney, and other disparaging things about Movant. Counsel for Defendant never

contacted Plaintiff directly but rather informed Movant of the Plaintiff’s emails and phone

calls. Further, Counsel for Defendant stated to Movant that she would not contact Plaintiff

directly until the Court enters the order allowing Movant to withdraw.

            3. On March 10, 2023, Plaintiff contacted Movant to discuss settlement of the




                                              -1-
      Case 3:22-cv-00257 Document 17 Filed on 03/16/23 in TXSD Page 2 of 3




case. Plaintiff again represented that she would agree to the new settlement offer made by

Defendant.

                4. Since that time, Movant has attempted to contact Plaintiff at least twice a day

at the email address and phone number he had to discuss the status of the settlement offer.

                5. On March 15, 2023, Movant received an email from an unknown third-party

addressed to Plaintiff and counsel for the Defendant stating many inaccuracies about

Movant’s representation of Plaintiff and suggesting that Movant did not really represent

Plaintiff.

                6. As such, based on the conduct of the Plaintiff and the email from the unknown

third-party, Movant must not renew his Motion to Withdraw.

                7. As previously stated good cause exists for this Court to grant the Motion

because irreconcilable differences between counsel and Plaintiff exists:

                a. The client has failed substantially to fulfill an obligation to the lawyer

                    regarding the lawyer’s service to including not responding to phone calls

                    and text messages;

                b. The representation has become unreasonable difficult by the client.

     8.           Plaintiff does not have other counsel at this time. Plaintifft’s last known

address is 13130 7th St, Santa Fe, TX 77510.

          9.      The withdrawal is not sought for delay only, but so that justice may be done.

          10.     Counsel for the Defendant has agreed to my motion to withdraw.                While

Movant has not been able to speak to Plaintiff, her emails to Counsel for Defendant indicated

that Movant is no longer her attorney.




                                                   -2-
      Case 3:22-cv-00257 Document 17 Filed on 03/16/23 in TXSD Page 3 of 3




        WHEREFORE, PREMISES CONSIDERED, Movants respectfully request that the

Court enter an order permitting Robert C. Newark, III, to withdraw as counsel of record for

Plaintiff.

                                              Respectfully submitted,

                                              /s/ Robert C. Newark
                                              Robert C. Newark
                                              State Bar No. 24040097
                                              robert@newarkfirm.com
                                              1341 W. MOCKINGBIRD LANE, STE 600W
                                              DALLAS, TEXAS 75247
                                              (866)230-7236
                                              (888)316-3398 (FAX)
                                              ATTORNEY FOR PLAINTIFF

                                  CERTIFICATE OF SERVICE

        A true and correct copy of this document was served by ECF on March 16, 2023 to:


        Melanie D. Morgan


        Additionally, a copy was mailed to Plaintiff at the address indicated in this motion.




                                              /s/Robert C. Newark, III
                                              Robert C. Newark, III




                                               -3-
